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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 MUCHMORE’S CAFÉ, LLC,
                             Plaintiff,

                     v.
                                                         Civ. Action No.: 14-cv-05668 (RRM)
 THE CITY OF NEW YORK,

                             Defendant.




             MEMORANDUM OF LAW OF AMICI CURIAE SOCIAL DANCERS




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                     The city should not be in the business of deciding what goes on,
                     whether there is dancing or not dancing. … We have dance police.
                     This is craziness.

                            -   Former New York City Mayor Michael Bloomberg,
                                speaking about the Cabaret Law in 2004.1



                     Eleven years have passed since the Mayor called for reform of the Cabaret Law,

 but Defendant the City of New York (the “City”) has not heeded the call. Instead, the City has

 knowingly left in place a capriciously enforced law indisputably borne of prejudice. Amici

 curiae Ali Coleman, Luis Vargas, Megha Kalia, Natasha Blank and Tamara Burstein (“amici” or

 the “social dancers”) participate in various different musical genres, each inherently and

 undisputedly triggering what Mayor Bill de Blasio has called the “irresistible urge to dance.”2

 Below, amici first demonstrate that social dance is, in certain circumstances, an inextricable

 nonspeech element of constitutionally protected musical speech. Indeed, there are many musical

 genres, including the ones in which amici participate, that would cease to exist if listeners could

 not dance to them.

                     Second, amici demonstrate that social dance is an inherently expressive form of

 communication. Empirical evidence demonstrates that social dance is expression sufficient to

 warrant First Amendment protection. Social dancers express feelings, beliefs, judgments and

 more – all of which encompass some degree of recognizable emotion. This emotion is reflected



 1
  Sewell Chan, A New Effort to End the ‘Dance Police,’ NEW YORK TIMES, July 14, 2008,
 available at http://cityroom.blogs.nytimes.com/2008/07/14/a-new-effort-to-end-the-dance-
 police/?_r=0.
 2
  New York City Dance Parade, Proclamations and Support Letters, http://danceparade.org/wp-
 content/uploads/2015/05/2015-DP-Proclamation-Mayor.jpg (last visited June 2, 2015).

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 in the physical movement of the body. Thus, any person engaged in social dancing is using it to

 communicate emotion.

                                                ARGUMENT

 I.      EVEN IF THE COURT FOLLOWS DALLAS V. STANGLIN’S
         FREE ASSOCIATION ANALYSIS, SOCIAL DANCE IS OFTEN AN
         INEXTRICABLE ELEMENT OF FREE MUSICAL SPEECH.

                     Many New York City business owners refuse to book performers from these

 genres because they know that social dance is an inextricable element of the genres. By

 infringing social dancers’ right to dance, the Cabaret Law prohibits a nonspeech element of

 musical performance speech that no one disputes is protected by the First Amendment. The

 City’s contrived line between dance and musical performance ignores the reality that dance is

 inherent to these musical genres, thus limiting the dancers’ ability to express themselves

 infringes equally on the performers’ freedom of expression.3

                     As a result, the Cabaret Law is subject to, and plainly fails to pass, the

 intermediate scrutiny framework first established in United States v. O’Brien, 391 U.S. 367

 (1968). As Plaintiff points out, the City failed to even mention O’Brien in its cross-motion,

 much less apply it to the Cabaret Law. The City’s discussion of O’Brien in its reply papers, City

 Reply at 5-6, repeats the contention that social dance is not speech, but fails to address the more

 nuanced point that social dance is a nonspeech element of musical performance. Herein, amici

 explain why social dance is a nonspeech element of protected musical speech. Based on that




 3
  At the outset, amici curiae endorse the arguments set forth by Plaintiff Muchmore’s Café, LLC,
 most notably that it has standing to challenge the Cabaret Law and that social dance itself is
 expression protected by the First Amendment. Amici focus elsewhere in an effort to avoid
 burdening the Court with duplicative arguments. Even if the Court does not agree that social
 dance is expression independently deserving First Amendment protection, amici respectfully
 contend that the Cabaret Law is constitutionally infirm anyway, for the reasons set forth herein.

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 status, amici curiae then demonstrate that the Cabaret Law cannot meet the high standard

 imposed upon it by O’Brien.

         A.          Social Dance Is an Inextricable Element of Protected Musical Expression.

                     Before reaching the O’Brien test, one must first establish that the nonspeech

 conduct in question is in fact an element of some sort of protected expression. Social dance is

 not unrelated to musical performance—quite to the contrary, the genres of music to which amici

 dance would cease to exist if listeners could not dance. By banning social dance in countless

 New York City establishments, the Cabaret Law heavily incentivizes business owners not to

 book musicians who perform musical genres that inherently involve dance. Business owners,

 like anyone else familiar with genres like house or Bhangra, understand that the genres

 necessarily trigger social dancing that violates the Cabaret Law. Therefore, even if social dance

 is not protected expression standing alone, it is clearly protected expression when undertaken in

 the context of indisputably protected musical speech. The musicians playing the music and the

 listeners dancing to it are, in the case of the amici’s musical genres, one and the same. The

 City’s attempt to draw a line between live music and the dance upon which it relies fails to

 persuade.

                     1.     The City’s Bright Line Between Social Dance and Musical Performance
                            Ignores Existing Law Regarding Protected Nonspeech Conduct.

                     Amici reiterate their agreement with Plaintiff’s argument that Dallas v. Stanglin,

 488 U.S. 815 (1989), does not bind this Court, and therefore social dance is independently

 protected by the First Amendment. Even if the Court rejects Plaintiff’s argument, however, the

 fact remains that social dance of the type banned by the Cabaret Law is an inextricable element

 of protected musical performance. The Cabaret Law is thus subject to heightened constitutional




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 scrutiny under O’Brien, infra. The City’s willful failure to engage with this point is indicative of

 the City’s inability to distinguish O’Brien and its progeny.

                     Various types of conduct may be considered non-expressive in one context but

 expressive in another. Cases construing public nudity regulations, for example, are instructive.

 In Tunick v. Safir, the Second Circuit considered a permitting regulation that the City of New

 York used to prevent an acclaimed photographer from shooting photos of nude models in public.

 209 F.3d 67, 69 (2d Cir. 2000). The Court, explaining that there were no demonstrated negative

 “secondary effects” of the nudity, considered the nudity to be part and parcel of the

 photographer’s constitutionally protected artistic expression. Id. at 83-84. In other words,

 although nudity standing alone might not be protected expression, it is protected “when

 combined with some mode of expression which itself is entitled to First Amendment protection.”

 South Florida Free Beaches, Inc. v. Miami, 734 F.2d 608, 610 (11th Cir. 1984) (quoting Chapin

 v. Southampton, 457 F. Supp. 1170, 1174 (E.D.N.Y. 1978)).

                     Like nudity, while social dancing might not be protected in certain circumstances,

 it is protected when functioning as an inherent element of artistic speech. As explained below,

 social dance is an inherent element of each of the musical genres in which amici participate.

                     2.     The Genres in Which Amici Participate Would Not Exist But for the Rights
                            of Listeners to Dance.

                     Just as nudity is inherent to the protected artistic expression of the photographer

 in Tunick, supra, so too is rhythmic physical movement inherent in the varieties of live music to

 which amici dance (or would dance if not for the Cabaret Law).

                     Loftkidluis and Ali Coleman: Luis Vargas, a.k.a. Loftkidluis, and Ali Coleman

 are leaders of the New York City House Coalition, a group of more than 500 individuals and

 organizations devoted to furthering house music in New York City. House musicians spend


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 hours curating electronic music into a spiritual, ideological performance. Their ultimate goal is

 to convey a recognizable message to the audience dancing in front of them. The musicians and

 the dancers have what Mr. Vargas calls a “symbiotic relationship.” Without social dance, house

 musicians cannot speak.

                     Natasha Blank: Ms. Blank creates music for a biweekly event called “The Get

 Down,” a “happy hour dance party” starting at 7 p.m. and hosted in establishments subject to the

 Cabaret Law. The Get Down is designed to “bring together people from across classes and

 cultures.” Ms. Blank painstakingly curates musical performances (and dances to performances

 curated by other musicians), “on the belief that dance is a basic form of self-expression rarely

 recognized for its paramount importance in the creation and maintenance of health, happiness,

 wellbeing and a feeling of genuine connection with other people.” Every time she chooses a

 song to play, Ms. Blank asks herself “How is this sound going to invite [audience members] to

 break out of their usual way of moving and into new exciting and creative forms of expression?”

                     Without social dance, Ms. Blank, could not—and would have no reason to—

 speak through musical performance.

                     Megha Kalia: Ms. Kalia leads the NYC Bhangra Dance company, a group which

 performs around the City. Bhangra music hails from the Punjab state of India, and is based on a

 drum called the dohl. Bhangra musicians use the dohl to express a wide range of different

 emotions, most notably a desire to improve one’s life and mood on a day-to-day basis. Without

 people to dance to the beat of the dohl, there would be no reason to drum on it, and thus no

 reason for Bhangra to exist.

                     Tamara Burstein: In addition to her commitment to social dance in many

 different contexts, Ms. Burstein has made performance dance her full time work. She is a



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 certified teacher of the 5Rhythms movement meditation practice who shares her knowledge at

 5Rhythms workshops across the world. Most importantly, Ms. Burstein is, in her own words,

 “an uncontrollable dancer at all social functions”—including many at venues subject to the

 Cabaret Law. Without social dancers like Ms. Burstein, the various forms of musical expression

 to which she loves to dance would be rendered irrelevant.

         B.          The Cabaret Law Crumbles Under the Limited Weight of Intermediate
                     Scrutiny.

                     As set forth in the preceding section, social dance is an element of protected

 musical speech. While restrictions on social dance are in some circumstances valid, that is true

 only if the restriction in question passes intermediate scrutiny. A regulation meets intermediate

 scrutiny:

                     if it is within the constitutional power of the Government; if it
                     furthers an important or substantial governmental interest; if the
                     governmental interest is unrelated to the suppression of free
                     expression; and if the incidental restriction on alleged First
                     Amendment freedoms is no greater than is essential to the
                     furtherance of that interest.

 United States v. O'Brien, 391 U.S. at 377. The O’Brien test requires that the restrictions “further

 an important or substantial governmental interest unrelated to the suppression of free speech”

 and not “burden substantially more speech than is necessary to further’ those interests.” Turner

 Broad. Sys. v. FCC, 520 U.S. 180, 186 (1997) (quotations omitted).          If a law fails to meet any

 of the four successive stages of the O’Brien test, it is automatically unconstitutional. As

 explained below, the Cabaret Law fails to meet at least two of the four elements.4




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   Amici do not suggest that the City went outside its power by passing a licensing statute, thus the
 first element is not contested. Contrary to the City’s extended straw man argument, City Opp.
 Br. at 7, 17-18, licensing in the abstract is not the problem—licensing as specifically embodied
 by the Cabaret Law is the problem.

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                      1.     The City’s Original Interest in Discouraging Jazz and Interracial
                             Mingling Is Not an “Important or Substantial Governmental Interest.”

                      No one, including the City in its briefing, disputes that the Cabaret Law originally

  came about as an insidious effort to limit interracial socializing and stymy the development of

  traditionally African-American musical genres. The fact that the City has a vague and

  theoretically non-discriminatory statement of legislative intent for licensing in general is

  irrelevant—what matters is whether the city has a legitimate rationale for the Cabaret Law, and it

  plainly does not. See Pl. Reply Br. at 9-10. Important governmental interests include, among

  many others, ensuring equal academic freedom, Rumsfeld v. Forum for Academic & Institutional

  Rights, Inc., 547 U.S. 47, 58 (2006); preventing prostitution and sexual assault, Hang On, Inc. v.

  City of Arlington, 65 F.3d 1248, 1255 (5th Cir. 1995); regulating the sale of obscene materials,

  Alexander v. United States, 509 U.S. 544, 556 (1993); and preventing vandalism, Vincenty v.

  Bloomberg, 476 F.3d 74, 85 (2d Cir. 2007). Discouraging the performance of music, even

  assuming for sake of argument that the City was discouraging all forms of music equally, surely

  does not deserve a place on that list.

                      For that reason alone, the Cabaret Law is unconstitutional.

                      2.     If the Court Accepts the City’s “Public Welfare” Justification for the
                             Cabaret Law, the Law Still Restricts Far More Protected Speech than
                             Necessary to Achieve that Interest.

                      Even assuming the City’s vague justification for the Cabaret Law is sufficiently

  substantial—which is demonstrably not true—the law still sweeps in far more protected speech

  than necessary. A regulation subject to intermediate scrutiny is valid only if it “promotes a


  As to the third requirement, that the substantial government interest be unrelated to the
  suppression of speech: Implicit in the fact that there is no substantial governmental interest for
  the Cabaret Law, infra § I.B.1, is the fact that the law targets protected speech, namely speech
  via musical performance. In other words, the fact that the law fails the second element of
  O’Brien necessarily means that it follows the third element as well.

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  substantial government interest that would be achieved less effectively absent the regulation.”

  Ward v. Rock Against Racism, 491 U.S. 781, 799 (1989) (quotation omitted) (emphasis added).

  Here, the Cabaret Law could achieve its purported goals just as easily without so broadly

  limiting the amici’s rights to free expression.

                      In O’Brien, where the Court upheld a law banning the burning of draft cards, the

  law did nothing more than that—ban the burning of draft cards. In United States v. Weslin, the

  aim of the Freedom of Access to Clinic Entrances Act was to prevent anyone from physically

  obscuring access to reproductive services facilities. 156 F.3d 292, 296 (2d Cir. 1998). In

  practice, the law prohibited only actual physical obstruction, leaving protesters free to initiate

  conversations, pass out handbills, hold signs, etc. Id. at 298. As a result, the law was

  sufficiently narrowly tailored to pass muster under O’Brien. Id. In Young v. New York City

  Transit Authority, the law at issue regulated panhandling on New York City subways in an effort

  to eliminate incidents of physical harassment. 903 F.2d 146, 149 (2d Cir. 1990). The law only

  prohibited panhandling on New York City subways, because subways are cramped spaces in

  which passengers could not avoid interacting with a panhandler, unlike city streets. Id. at 150.

  Since the law limited panhandlers’ rights to speak only in this limited fashion, it was sufficiently

  narrowly tailored under O’Brien. Id. at 161.

                      The scope of the Cabaret Law is vastly different than the laws in O’Brien and the

  other cases cited above. In order to protect the “public welfare,” the meaning of which remains

  unclear despite the City’s briefing, the Cabaret Law inhibits a form of free expression with no

  demonstrated ill effects on the public welfare. Assuming the City is referring to things like

  noise, fire safety, or any other legitimate governmental concern, those concerns can be—and




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  largely already are—fully addressed without inhibiting a form of free expression. See Pl. Reply

  Br. at 13.

                      The Cabaret Law is more akin to the City regulation attempting to combat graffiti

  vandalism in Vincenty, 476 F.3d 74. There, the Second Circuit invalidated a law criminalizing

  the possession of aerosol spray cans and broad tipped markers, the normal implements of graffiti,

  in certain circumstances. Id. at 86-87. The City’s legitimate interest in preventing vandalism,

  the Court explained, was insufficiently reflected in a law that also criminalized possession of

  those implements for lawful purposes. Id. at 87. The Court explained that even though

  relatively few summonses were issued for violating the law, the law was still problematic, as

  “speakers may self-censor rather than risk the perils of trial.” Id.

                      Like the graffiti regulation in Vincenty, the Cabaret Law sweeps in far more

  expression than is necessary to achieve its goal. In reality, the Cabaret Law could achieve its

  purposes without restricting any free expression, but it does not. The City’s failure to counter

  this point or present an alternative justification for the law says it all.

  II.     SCIENTIFIC RESEARCH DEMONSTRATES THAT DANCE IS A MODE OF
          EXPRESSION (COMMUNICATION) IN A NON-PERFORMANCE CONTEXT.

                      The First Amendment protects human communication, whether it is verbal or

  nonverbal, so long as it is sufficiently expressive to implicate freedom of speech. Social dance,

  by its very nature, is an inherently expressive form of communication. “[J]oining with others to

  dance for fun involves expressing one’s personal style and associating with other dancers.”

  Madison Gray, Social dancing, FIRST AMENDMENT CENTER (July 20, 2004),

  http://www.firstamendmentcenter.org/social-dancing. It cannot be reasonably disputed that

  social dance is expression sufficient to warrant First Amendment protection. Social dancers

  express feelings, beliefs, judgments and more – all of which encompass some degree of


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  recognizable emotion. This emotion is reflected in the physical movement of the body. Thus,

  any person engaged in social dancing is expressing emotion and is using dance as a venue

  through which to communicate it. For this reason, the Cabaret Law, in its current state, deprives

  the public of a forum in which to contest improper governmental restraint “of an inherently

  expressive and associative activity” that is constitutionally protected. Id. (emphasis added).

          A.          Social Dance Expresses Emotion.

                      Expression typically constitutes speech when a thought, sensation, or emotion is

  expressed to another individual. Miller v. Civil City of S. Bend, 904 F.2d 1081, 1092 (7th Cir.

  1990) (Posner, J., concurring) rev'd sub nom. Barnes v. Glen Theatre, Inc., 501 U.S. 560 (1991).

  Dance, in both its social and recreational forms, is an art form. In its majority opinion, the

  Seventh Circuit defined dance as “the art of moving the body in a rhythmical way, usually to

  music, to express an emotion or idea, to narrate a story, or simply to take delight in the

  movement itself.” Miller, 904 F.2d at 1085 (emphasis added). Shanna LaFleur once said, “[i]t

  takes an athlete to dance, but an artist to be a dancer.” See Ballroom Dancing, BEYOND

  DANCING (July 30, 2014), http://beyonddancingsarasota.com/latin-ballroom-instruction/dancing-

  is-it-a-sport-or-an-art; see also Christina Devereaux, Why Should We Dance?, PSYCHOLOGY

  TODAY (May 16, 2013), https://www.psychologytoday.com/blog/meaning-in-

  motion/201305/why-should-we-dance (“[D]ance in itself is innately an expressive art form, not

  just a physical release of body tension alone.”). Social dance “often displays the collective

  expression of genuine emotion, including exuberance or celebration.” Wright, 34 Loy. U. Chi.

  L.J. at 471.

                      For example, an analysis of the relationship between expression of emotions and

  movement characteristics through the use of kinematic data suggests that “dancers c[an] express

  certain emotions using characteristics in certain body action and body part[s] and [] observers

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  c[an] accurately perceive such emotions.” See Misako Sawada, Kazuhiro Suda, & Motonobu

  Ishii, Expression of Emotions in Dance, 97.3 PERCEPTUAL & MOTOR SKILLS 697, 707 (2003),

  PubMed PMID 14738329 (There is a clear association between certain expressive emotions and

  different movement characteristics in dance. Further, this study indicates that “specific

  movement characteristics convey[] certain emotions, and movement characteristics influence[]

  dance expression.”).5 “[T]he results of th[is] [] study indicate that dancers can express different

  emotions by altering movement characteristics[,] even when they use simple body actions[]” in

  their dancing. Id. (alteration in original). Thus, both professional dancers and individuals

  dancing in a social capacity express their emotions through dance and the emotions being

  conveyed are recognized by observers.

                      1.     Humans Have the Ability to Decode Emotion Through Social Dance.

                      Dance, one of the most ancient forms of cultural expressions, generally requires

  full body movement. Edith Van Dyck et al., Recognizing Induced Emotions of Happiness and

  Sadness from Dance Movement, 9.2. PLOS ONE 1 (2014), PubMed PMCID: PMC3933670

  (citations omitted). “Theories of embodied cognition suggest that perceiving, experiencing, and

  thinking about emotions involves embodiment, or interaction between the emotional state of a

  person and his or her body. Charles Darwin himself introduced the idea that both humans and

  animals are capable of communicating emotions through motor behavior (especially posture).”

  Id. (citations omitted).

                      Significantly, similar to an individual’s ability to acknowledge another’s feelings,

  attitudes, and intentions through facial expressions, there is scientific evidence demonstrating

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   This publication, as well as the various others in this brief that do not cite directly to an Internet
  website, is not available online without incurring a usage fee. Rather than file these documents
  publicly as exhibits to this brief, amici will hand deliver full copies of the publications in
  question, upon request of the Court or the City.

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  that individuals have the capacity to effectively identify and understand emotions expressed

  through bodily movement. Id. This is especially true regarding particular parts of the body such

  as an individual’s the trunk, arms, and hands. Id. (citations omitted). “[D]ance is believed to

  facilitate the expression of several different emotions in a non-verbal way.” Id. (citations

  omitted). And, individuals have the ability to decode emotions that are expressed through dance.

  Id. (stating that “both children and adults have been proved to master the ability to decode

  emotions from full body movements.”). “The ability to successfully decode emotions from

  dance movement is already present from early childhood onwards, as children as young as about

  five years old have proved to be able to recognize emotional meaning from dance.” Id.

  Research has also shown that individuals are “capable of decoding the intensity of [such]

  emotions expressed by dancers… moving [] to music.” Id. (alteration in original) (citations

  omitted). This is particularly true when the observer can see the participant’s full body without

  obstruction. Id. (citations omitted). Thus, it cannot be reasonably disputed that individuals

  communicate through dance expression.

                      2.     Social Dance May Convey Particularized Messages.

                      Emotions are expressed in social dance through controlled movements. As stated

  by Psychology Today, people can recognize others’ emotions “when they are expressed through

  the moving body and dance.” Peter Lovatt, 23 Feelings in Dance, PSYCHOLOGY TODAY (July

  24, 2010), https://www.psychologytoday.com/blog/dance-psychology/201007/23-feelings-in-

  dance. Indeed, “many carefully controlled experimental studies [] have sought to find the core

  elements of movements that communicate different emotions….” Id. For example, brain scan

  studies show the various parts “of the brain that light up when people watch expressions of

  emotions.” Id. Additional studies establish that “people can recognise [sic] iconic emotions and

  feelings expressed through dance and some people try to make sense of abstract dance pieces

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  within an emotion-based narrative framework.” Id. (alteration in original). Nothing has been

  found to suggest that individuals only recognize such emotion when watching performance

  dance and not a social dance.

                      Dance is also a means of disseminating the unspeakable. See K. Eli & R. Kay,

  Choreographing Lived Experience, Medical Humanities 1, 5 (2015), PubMed PMID: 25564480,

  available at http://mh.bmj.com.ezproxy.cul.columbia.edu/content/early/2015/01/05/medhum-

  2014-010602.long. It provides the substratum central to sketching, defining, and interpreting

  “elements of experience[s] they f[i]nd difficult to capture in [verbal] speech alone.” Id. at 5

  (alteration in original).

                      For example, a study on individuals with eating disorders using dance as a form

  of expression demonstrated that it is the “‘logic’ of movement that allow[s] [participants] to

  convey their experience[s].” Id. at 4 (alteration in original). While some study participants

  choreographed their dances, others left their dances more open to free, unrestrained movement.

  Id. A participant named Alicia, for example, left her dance “open-ended enough to allow for the

  expression of experience that might otherwise need to be clarified and made cogent in [verbal]

  speech.” Id. (alteration in original). “[D]ance allowed her to articulate eating-disordered

  experiences in feeling and motion, yet keep them raw and unencumbered by explanations.” Id.

  Another participant noted that “she was emotionally controlled whenever she spoke about her

  eating disorder.” Through dancing, however, [the participant] said she could both feel and

  express the lived experience of her eating disorder, which, for her, constituted her ‘genuine’

  reality and ‘genuine’ self, otherwise obscured by words.” Id. Moreover, a majority of the

  participants felt similarly in that dance “enable[ed] the expression of those aspects of the eating-

  disordered experience which would have otherwise remained unarticulated.” See id. (alteration



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  in original) (“The unspeakable moments of eating disorder were related not to events, but to

  sensations—sensations which were part of eating-disordered embodiment, and which the

  participants felt were inaccessible to non-eating-disordered others, and inexpressible through

  language.”). This study even showed that dancing as an individual encouraged reflective verbal

  expression of the sensory dimensions of eating disorder experiences. Id. Thus, speaking through

  social dance in a nonverbal manner enabled participants to further their verbal expression of the

  experience. Dance serves as a medium through which one can express him or herself and

  communicate where verbal speech and language fails.

                      3.     Expression of Emotion Through Social Dance Leads to a Sense of
                             Community -- Straight Edge Subculture.

                      The synchrony that results from an environment filled with music and dance is

  not fortuitous. Paul Reddish, Ronald Fischer & Joseph Bulbulia, Let’s Dance Together, 8.8

  PLOS ONE 1 (2013), PubMed PMID: 23951106. Rather, the synchrony is a calculated, conjoint

  effort. Id. Research shows that “[i]n collective music and dance, [dancers] intentionally modify

  the timing of their rhythmic movement to entrain to the behaviour of others with the knowledge

  that others also share the goal of entrainment. This sharing of psychological states enabling

  collaborative behaviours is termed shared intentionality.” Id. (alteration in original). The

  coordinated behavior in social dance allows participants to eclipse self-interests, thereby

  generating “an even more powerful cooperative response than synchronous interaction in

  isolation from collective goals.” Id. at 11 (noting that “in group synchrony, [] low-level action

  and perception systems combine with higher level intentional systems to evoke especially

  powerful cooperative responses[]”). Further, a greater level of cooperation is evidenced where

  there is collective synchrony. Id. This “could explain the universality and retention of music




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  and dance across all known human societies, present and past, despite associated energy,

  resource, and opportunity costs.” Id. (citations omitted).

                      One example of this synchrony is seen in the life-style based social movement

  called Straight Edge (“Straight Edge,” “Straightedge,” “sXe,” or the “subculture”). MICHAEL

  LANCE, IDENTITY MAINTENANCE THROUGH EMOTIONAL RELEASE AND REJUVENATION 1 (UMI

  Dissertations Publishing 2007). While there are three main tenets of the sXe subculture, the

  following two are of the utmost importance: (1) do not do drugs and (2) do not drink alcohol. Id.

  at 2 (sXe is a subculture that “that encourages positive choices for the betterment of oneself (and

  society)”). Members of the sXe subculture tend to attend shows with live music and dance in a

  violent manner as a form of expression. See id. at 36. A study conducted on the subculture

  revealed that many sXe members appreciate “the feeling of experiencing music live and feeling

  the instruments being played. Some, particularly those who dance, claim[] that they support[]

  their scene by attending shows. These activities, together with the sensory experience of live

  music, create energy in the crowd that contributes to perceived unity and sense of overall

  community....” Id. (alteration in original) (emphasis added).

                      Dancing “add[s] another level of experience to attending a show. People dance

  because it’s fun, yet there are reasons for why it is fun.” Id. at 37. For instance, those who dance

  at these live shows “report that when they love the music, it makes them want to (or ‘have to’)

  dance.” Id. It is human nature to dance in any establishment – whether public or private – when

  music is playing because “[i]ndividuals feel compelled through [] music, to dance.” Id.

  (alteration in original). For instance, feeling compelled to dance tends to occur “where people

  assess that it is socially acceptable to dance and fe[el] moved by the music to do so.” Id. Social

  dance may be used by participants “as an outlet for built up angst and tension allowing for



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  emotional expression (release) and a chance to forget about one’s everyday circumstances

  through a physical outlet.” Id. It provides a venue where individuals can “express [themselves]

  with a group of other guys doing the exact same thing as” them. Id. As an sXe member said,

  “[w]hen you move around for the band it shows the[] [band] that you are enjoying the music.”

  Id. Indeed, members of the Straightedge community develop memories of their dancing

  experiences that offer a “feeling [that] stays with [them].” Id. One sXe member explained that

  “it’s very energizing to attend shows and dance. It somehow gives me strength. To be in a

  group of people that all enjoy the same music, somehow the feeling of not being alone, the

  memories of the concert that stay with me… all that is giving me strength.” Id.

                      Straightedge dancing is a vehicle through which an individual may express

  emotion. Id. It is “expressive dancing” because the expression is “a result of intense dancing

  and socially-supported cathartic release….” Id. “The more potential dancers present [at the

  venue], the greater the possibility for collective excitement and social contagion.” Id. (alteration

  in original). Further, even those who “do not necessarily identify” dancing at a show as a type of

  cathartic release can still participate and have fun with companions. Id. Thus, sXe social

  dancing fosters a sense of community that extends to both those who are dance participants and

  those simply observing or enjoying the music. See, e.g., id. at 57.

          B.          Social Dance Is Embedded In Our Society.

                      Social dance is embodiment. See Betty Block & Judith Lee Kissell, The Dance:

  Essence of Embodiment, 22.1 THEORETICAL MEDICINE & BIOETHICS 5 (2001), PubMed PMID:

  11334379.

                      The notion of embodiment is a fully and totally human notion.
                      That is, being embodied implies being embedded as well –
                      embedded in a society, a culture, a language. While embodiment is
                      in one sense a refutation of the Cartesian mind/body polarity, it is
                      more than that. We are not merely embodied as individuals. Our

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                      culture, our language and our art tell us that our way of being-in-
                      the-world means being with others. To be human entails existing in
                      a world of symbolization and meaning that is essentially tied to the
                      material, the physical, the kinetic, the spatial, the temporal. Dance
                      captures all of these ideas.”

  Id. at 8. Movement and dance are embodiment, and this view has been expressed by Hungarian

  dance theorist, Rudolf Laban, when he said that he “believed in the spiritual and emotional

  importance of dance for ‘the person on the street.’” Id. at 9 (citations omitted). Social dance is

  embodiment in the sense that it embraces “what it is to know the world and to express our own

  presence here in the only way human beings can.” See id. at 14 (“Dance captures perfectly the

  physical universe in which we live and which we must spend our days mastering – that of

  gravity, of space, of time. Dance takes our ability to take proprietorship over our universe

  through movement, and makes of it agency, or effort to be fully human.”). Society recognizes

  the potential of utilizing social dance as embodiment, evidenced in widespread dance therapy,

  (“Dance Movement Therapy” or “DMT”) which uses social dance as “‘a healing art,’ a way for

  natural movements to emerge….” See id. at 13 (citations omitted) (“‘Just as someone who has

  never seen the color yellow has no way of conceiving what the color is like, people bound into

  specific body controls cannot experience the vivacity of physical freedom until they break those

  controls.’”).

                      Dance is a means of expression that transcends standard linguistic and cultural

  barriers. “Therapeutic dance and movement activities with young people experiencing

  difficulties with expression and communication may provide a dynamic format for them to

  experiment creatively around a range of issues related to their personal and social development.”

  Beyond Words, 22 SUPPORT FOR LEARNING 78, 83 (2007). However, its affects do not stop there

  and instead even extend to the elderly. See infra p.23. Studies show a wide range of benefits

  directly associated with social dance, such as improved physical and emotional health as well as

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  improvement in the overall wellbeing of participants. See, e.g., Madeleine E. Hackney &

  Gammon M. Earhart, Social Partnered Dance for People With Serious & Persistent Mental

  Illness, 198.1 J. of Nervous & Mental Disease 76 (2010) [Social Partnered Dance]; Z. Pelc,

  Therapeutic Values of Dance Movement & its Influence on Psychomotor Development of Deaf

  Persons as a Form of Socialization & Integration With the Environment, 55 LEK WIAD 845, 845-

  49, PubMed PMID: 17474610 (wherein a study revealed evidence showing that social dance as a

  form of DMT improves the psychomotor development of those who are deaf by helping

  participants socialize and better integrate with their environments.). “[H]abitual social dancing[,]

  [specifically,] is associated with superior balance, postural stability, and gait function in dancers

  compared with age-matched nondancers….” Social Partnered Dance, J. NERVOUS & MENTAL

  DISEASE at 76 (alteration in original) (citations omitted).

                      For example, Dance Movement Therapy (“DMT”) has been used by clinicians for

  many years for individuals suffering from Serious Mental Illness (“SMI”). See Social Partnered

  Dance, J. NERVOUS & MENTAL DISEASE at 76 (SMI is serious and persistent mental illness, such

  as schizophrenia, schizoaffective, and affective disorders). It is fact that “[d]ance…can improve

  balance and quality of life in neurologically impaired older populations.” Id. (alteration in

  original) (citations omitted). Studies show, moreover, that social dance has significant positive

  effects on those with SMI, specifically. Id. at 77-78 (noting that participants “significantly

  improved in functional mobility and showed tendencies toward improvement on standard clinical

  measures of endurance, balance confidence, depression, and anxiety[]”). Participants with SMI

  who engage in social dance as a form of therapy may reduce both depression and anxiety. Id.

  (citations omitted). Accordingly, “[s]ocial dance may promote adherence in those with SMI




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  while incorporating key elements of successful exercise programs: motivation, cardiovascular

  and functional mobility challenge.” Id. (alteration in original).

                      Social dance also increases participants’ “feelings of psychological well-

  being…[and] sense of belonging.” See Carine Lewis et al., Mood Changes Following Social

  Dance Sessions in People With Parkinson’s Disease, J. HEALTH PSYCHOLOGY 1, 2, 6 (2014),

  PubMed PMID: 24752558 (citations omitted). For example, recent studies of elderly people

  both with and without Parkinson’s Disease (“PD”) shows “that taking part in weekly dance

  classes can subsequently improve mood in the elderly, with and without PD.” Id. Studies show

  that those who exercise see improvement in “physical function[], balance, strength, and health-

  related quality of life.” Id. (citations omitted); see also S. Woolf, WA16 If My Body is Ill, Who

  Am I? Pain Relief Through Expression of Whole Self, 5 BMJ SUPPORTIVE & PALLIATIVE CARE 1

  (2015), PubMed PMID: 25960528 (Studies conducted on individuals under palliative care

  demonstrate that participating in social dance helped those individuals “grieve over th[eir] losses

  of self[] and [] re-integrate with their estranged bodies” in a way that allowed them to express

  their actual selves as “integrated complete pe[ople].”); Liisa Palo-Bengtsson & Sirkka-Lissa

  Ekman, Emotional Response to Social Dancing & Walks in Persons With Dementia, 17.3 AM. J.

  OF ALZHEIMER’S DISEASE & OTHER DEMENTIAS 149, 149, PubMed PMID: 12083344 (“Dancing,

  more so than walks, created mutuality and communion, which in turn created several [positive]

  emotional reactions.”); Jan-Christoph Kattenstroth et al., Six Months of Dance Intervention

  Enhances Postural, Sensorimotor, & Cognitive Performance in Elderly Without Affecting

  Cardio-Respiratory Functions, 5 FRONTIERS IN AGING NEUROSCIENCE 1, 1-2 (2013), PubMed

  PMID: 23447455 (“Dancing is an activity that emerged from a need for social interaction and

  non-verbal communication, and it is a universal human expression consistent across generations,



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  cultures, and social classes throughout the world.”); Ana Cruz-Ferreira et al., Creative Dance

  Improves Physical Fitness & Life Satisfaction in Older Women, Research on Aging 1, 10-14

  (2015), PubMed PMID: 25651595 (Studies show that older women who partake in social,

  creative dancing have “enhanced physical fitness (strength and flexibility of lower limbs, aerobic

  endurance, motor agility/dynamic balance, and body composition) and life satisfaction.”).

                                                CONCLUSION

                      For these reasons and the reasons set forth in Plaintiff’s submissions to the Court,

  amici curiae respectfully request that the Court rule the Cabaret Law unconstitutional.


  Dated: June 9, 2015



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